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s ' t toR THE WESTERN DIsTRICT oF TENNESSEE cg§¢
EASTERN DIVISIoN ,¢;.»,,;§ d:t

 

 

MARV[N FORGUSON and CRlSTlE FORGUSON
Plaintiffs,

NO. l-OS-l 03 S-T/An
JURY TRIAIJ DEl\/IANDED

VS.

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)
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)
CALIFORNIA REO PROPERTY MANAGEMENT )
CORP.; TOWN & COUNTRY REAL ESTATE )
COMPANY INC.; (a/k/a TOWN & COMPANY )
REALTORS, licensed and d/b/a TOWN & )
COUNTRY INC. REALTORS GMAC; THE COACH )
APPROACH REALTY, LLC, dba CRYE-LEIKE )
THE COACH APPROACH REALTY, LLC; )
JOYCE SHEARIN, KELLY SHEARTN, PAl\/[ )
FLEMING, and LARRY FLEM[NG )

)

)

Defendants.

 

ORDER GRANTING PLAINTIFFS’ UNOPPOSEI) MOTI()N
FOR EXTENSION OF TIME TO RESPOND TO
DEFENDANT CALIFORNIA REO PROPERTY

MANAGEMENT’S MOTION FOR SUMMARY .]UDGMENT

 

lt appearing to the Court that counsel l`or plaintiffs has filed his Unopposed l\/lotion for
Extension of Time to Respond to the Motion for Summary Judgrnent filed by defendant
California Reo Property l\/lanagement and his Certification stating that counsel for said
defendant has no objection to said continuance and the court finds that said motion is Well taken

and should be granted

Thls document entered on the docket sheet In lc:om§izam:e
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l'l` lS THEREFORE ORDERED, ADJUDGED AND DECREED that plaintiff shall have

until December 15, 2005 to respond to the defendant California Reo Property Management’s

Motion for Sumrnary Judgment.

   

L.M

.`\. TODD, JUDGE

DATED; 3 / J/b<z//¢Af .§MLUS'

APPROVED FOR ENTRY:

 

W /§N ASSOCIATE

 

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Case 1:05-cv-01038-.]DT-STA Document 31 Filed 08/31/05 Page 3 of 4 Page|D 29

cERTIFtCATE oF `s:ER\/lcs

l, l\/lichael L. Weinman, attorney for plaintiffs, do hereby certify that I mailed a true,
complete and exact copy of the foregoing pleading by depositing the same in the United States
l\/[ail, postage prepaid, addressed to:

l'\/lr. Bruce M. Smith. l\/ir. Timothy Hayes

Attorney at Law Attorney at Law

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l\/lr. Russell E. Reviere

Attorney at Law

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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 1:05-CV-01038 Was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

ESSEE

 

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Honorable .l ames Todd
US DISTRICT COURT

